    Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 1 of 32 Page ID #:4492




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                            UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
                              February 2005 Grand Jury


      UNITED STATES OF AMERICA ,            cn so.:6.- 7 44 4
                       Plaintiff,           E
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                       V.                   g18 U.S.C. 5 371: Conspiracy;
                                            18 U .S.C . 5 2314: Interstate
      REZA BAHRAM TABATABAIf                Transportation of Fraudulently
           aka Ben Tabatabai,               Obtained Property; 18 U .S .C .
            aka Robert Bajio,               5 1341: Mail Fraud ; 18 U .S .C .
      EDMOND MASJEDI,                       5 1343: Wire Fraud ; 18 U .S .C .
            aka Eddie Masjedir              5 1956(h): Conspiracy to Commit
            aka Edmund Masjedz,             Money Laundering; 18 U .S .C .
           aka Ryan Newman,                 $5 1956 (a)(1) (A) (i) and (B) (i):
      TOURAJ BENSHIAN ,                     Money Laundering; 18 U .S .C .
           aka David Benshian,              5 2: Causing an Act to be Doneq
           aka Jason Buckey ,
      MASOUD RAHMANI,
           aka Masoud Ramani,
           aka Mlke Rhamani,
      MASOUD SABET,
           aka Mo Ramon,
                       Defendants .
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           The Grand Jury charges :



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            1                                  COUNT ONE
            2                             (18 U.S.C. : 371)
            3                               (Conspiracy)
            4       INTRODUCTION
            5       1.   At al1 times relevant to this Indictment :
            6            a.     Impaq Micro Enterprises Inc. (nlmpaq Micro'') was
            7 a business located at 5730 Oakbrook Parkway, #145, Norcross,
            8 Georgia , that bought and sold electronic equipment and
            9 computers .   Impaq Micro began operations in or about 1992.          The
        10 original owners of Impaq Micro sold the business to new owners,
        11 including the named defendants in this indictment, in or about
        12 May 2004.        Impaq Micro ceased all operations in or about August
        13 2004.
        14               b.    Defendant REZA BAHRAM TABATABAI, also known as

        15 (naka/') Ben Tabatabai, aka Robert Bajio (hereinafter
        16 UTABATABAI/') was involved in negotiating the terms of the May
        17 2004 purchase of Impaq Micro, and was subsequently involved in
        18 al1 aspects of its operation .
        19               c.    Defendant EDMOND MASJEDI, aka EDDIE MASJEDI, aka
        20 EDMUND MASJEDI, aka RYAN NEWMAN (hereinafter ''MASJEDI/')
        21 provided the financing for and assisted in negotiating the
        22 terms of the May 2004 purchase of Impaq Micro , was subsequently
        23 involved in the operation of Impaq Micro , and sold and stored
        24 the merchandise obtained from victim companies .
        25               d.    Defendant TOURAJ BENSHIAN , aka DAVID BENSHIAN ,
        26 aka JASON BUCKEY (hereinafter 'ABENSHIAN/') provided the                          '
        27 financing for and assisted in negotiating the terms of the May
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                                                        08/02/05 Page 3 of 32 Page ID #:4494       ,
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            1 2004 purchase of Impaq Micro, was sub sequently involved in the
            2 operation of Impaq Micro, and sold and stored the merchandise
            3 obtained from victim companies.
            4                e.   Defendant MASOUD RAHMANI, aka MA SOUD RAMANI, aka
            5 MIKE RHAMANT (hereinafter ''RAHMANI'') was a signatory on the
            6 bank account for Impaq Micro and a number of other bank
            7 accounts relevant to this indictment, and was involved in the
            8 operation of Impaq Micro .
            9                f.   Defendant MASOUD SABET, aka MO RAMON
        10          (hereinafter USABET/') assisted in the May 2004 purchase of
        11 Impaq Micro and subsequently ran the daily operations of Impaq
        12 Micro .
        13                   g.   Good Investments was a company created by
        14 members of the conspiracy . The name of this company was used
        15 by defendants TABATABA I, MA SJEDI, BENSHIAN, RAHMANI, and SABET
        16          (hereinafter collectively referred to as ndefendants'') to
        17 receive and store merchandise obtained by them on Impaq Micro's
        18 credit . The bank account of this company was used by
        19 defendants to receive money from Impaq Micro, and was used to
        20 deposit m oney and cashier's checks obtained from the sale of
        21 the merchandise .
        22                   h.   Highland International was a company created by
        23 members of the conspiracy . Money deposited into the bank
        24 account of this company was subsequently transferred through
        25 multiple bank accounts, held in the names of other individuals
        26 and businesses, and was ultimately used to purchase Impaq
        27 Micro. The signatories on the Highland International bank
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     Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 4 of 32 Page ID #:4495




     1 account were defendants MA SJEDI and BENSHIAN .
    2             i.    Majik Company was a company created by members
    3 of the conspiracy . Money that originated from the Highland
    4    International bank account was deposited into the bank account
     5 of this company , was wire transferred to Georgia, and was used
    6 to purchase Impaq Micro . The signatory on the bank account of
    7 this company was an unihdicted co-conspirator .
    8             j.    The victim companies were al1 wholesale or
    9 retail businesses in the computer or electronics industry that
    10 extended credit to Impaq Micro , and sold computers or
    11 electronic equipment to Impaq Micro on credit (hereinafter the
    12 nvictim companies//). The victim companies were located
    13 throughout the United States, including in A labama, Arizona,
    14 California, Connecticut, Florida, Georgia , Illinois, Indiana,
    15 New York, Pennsylvania, and Texas.
    16                     THE OBJECTS OF THE CONSPIRACY
    17       2.   Beginning on a date unknown to the Grand Jury and
    18 continuing to September 2004, in Los Angeles County , within the
    19 central District of California, and elsewhere , defendants
    20 TABATABAI r MASJEDI , BENSHIAN, RAHMANI , SABET , and others known
    21 and unknown to the Grand Jury, knowingly , willfully, and
    22 unlawfully combined, conspired , and agreed to commit the
    23 following offenses against the United States :
    24            a.    To commit mail fraud by devising, intending to
    25 devise, and participating in a scheme to defraud the victim
    26 companies of money, and to obtain money and property from the
    27 victim companies by means of false and fraudulent pretenses,
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     Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 5 of 32 Page ID #:4496
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     1 representations, and prom ises, and the concealment of material
    2    facts, and causing items to be sent through the United States
     3 m ail in furtherance of the scheme , in violation of Title 18 ,
    4 United States Code, Section 1341.
     5               b.     To commit wire fraud by devising, intending to
    6 devise, and participating in a scheme to defraud the victim
    7 companies of money, and to obtain money and property from the
    8 victim companies by means of false and fraudulent pretenses,
    9 representations , and prom ises , and the concealment of material
    10   facts, and causing signs, signals, and sounds to be transmitted
    11 by means of wire communication in interstate and foreign
    12 commerce, in violation of Title 18 , United States Code, Section
    13 1343.
    14               c.     To obtain merchandise through fraudulent means,
    15 by devising, intending to devise, and participating in a scheme
    16 to defraud the victim companies of money, and to obtain money
    17 and property from the victim companies by means of false and
    18 fraudulent pretenses, representations, and promises , and the
    19 concealment of material facts, and for the purpose of executing
    20 and concealing the scheme to defraud, transported and caused to
    21 be transported in interstate cornmerce, property having a value
    22 of $5,O00 or more, in violation of Title 18, United States
    23 Code, Section 2314 .
    24                    THE MANNER AND MEANS OF THE CONSPIRACY
    25          3 . Defendants TABATABA I , MASJEDT , BENSHIAN, RAHMANT,
    26 SABET, and others known and unknown to the Grand Jury, carried
    27 out the fraudulent scheme in the following manner :
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Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 6 of 32 Page ID #:4497




             a.    Defendants TABATABAI, MASJEDI, BENSHIAN ,
  RAHMANI, and SABET would identify an established company and
  would attempt to purchase that company .       Defendants would later
  agree to purchase        company known       Impaq Micro .

             b.    Defendants TABATABAI, RAHMANI, BENSHIAN ,
  MASJEDI, and SABET would use aliases when dealing with the

  owners of Impaq Micro, the broker involved with the sale of
  Impaq Micro ,       victim companies, the trucking companies that
  transported the merchandise, the storage facility that housed
  the merchandise, and the businesses that ultimately purchased
  the merchandise .
                   Defendant TABATABAI would have a co-conspirator
  contact       broker     express interest in purchasing Impaq
  Micro .   Defendant TABATABA I would send, or would instruct a co-
  conspirator      send, the broker documents negotiating the deal
  to purchase Impaq Micro .
                   Defendants BENSHIAN and MASJEDI would travel
  from California to Georgia         examine Impaq Micro's business
  records, claiming that they were conducting a due diligence
  review of the business. While in Georgia, defendant BENSHIAN
  would use the false name Jason Buckey, and defendant MA SJEDI
  would use the false name Ryan Newman .       Defendants BENSHIAN and
  MA SJEDI would insist , as a condition for purchasing Impaq
  M icro, that the seller of the business not inform any of the
  victim companies that Impaq Micro was being sold to new owners.
             e.    Defendant TABATABAI would inform , or would
  instruct a co-conspirator to inform , the broker that the


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     Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 7 of 32 Page ID #:4498
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 1 contract to purchase Impaq Micro had to provide in writing that
2 the seller of Impaq Micro not inform its vendors that the
 3 business was being sold , and also had to provide that the new
 4 owners of Impaq M icro be substituted in as the signatories on
 5 the pre-existing bank account of Impaq Micro .
 6                f.    Defendants BENSHIAN and MASJEDI would provide
 7 approximately $240,0O0 to purchase and operate Impaq Micro .
 8 Defendants TABATABAI r BENSHIAN, MASJEDI , and RAHMANI would
 9 instruct other co-conspirators to transfer , or cause others to
10 wire transfer, money from California to Georgia to purchase
11 Impaq Micro .
12                g.    In or about May 2004, defendants TABATABAI ,
13 BENSHIAN, MASJEDI, and SABET, and others known and unknown to
14 the Grand Jury , would travel to the State of Georgia in order
15 to sign documents and to complete the purchase of Impaq Micro .
16 While in Georgia, defendant BENSHIAN would continue to use the
17 false nam e Jason Buckey, defendant MASJEDI would continue to
18 use the false name Ryan Newman, defendant TABATABAI would use
19 the false name Robert Bajio, and defendant SABET would use the
20 false name Mo Ram on .
21                h.    Using the name of an unindicted co-conspirator,
22 defendants TABATABA I, BENSHIAN, MA SJEDI, and SABET would
23 purchase Impaq Micro . Following their successful purchase of
24    Impaq Micro, defendant SABET would remain in Georgia to operate
25 the business .
26                i.    Defendant M HMANI would become the signatory on
27 the Impaq Micro bank account and would thereafter sign all of
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 Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 8 of 32 Page ID #:4499




 1 the Impaq Micro checks issued on that account .
                     Defendants TABATABA I, MASJEDI, BENSHIAN ,
     RAHMANI, and SABET would contact , or would cause others to
     contact, the existing vendors         Impaq Micro and attempt

     increase the amount      credit available      the business.
     Defendants would also contact, or would cause others to

     contactr vendors that had not yet extended credit to Impaq
     Micro and would submit credit applications containing documents
     to support the requests for credit, including financial
     statements. At the time that the credit applications were
11 submitted , defendants did not intend to pay the victim
     companies for a1l the merchandise that they would purchase on
     credit .
                k.   Defendants TABATABA I, MASJEDI, BENSHIAN,
     RAHMANI, and SABET would order, or cause others to order,
     merchandise on credit from the victim companies .      Defendants
     sometimes would pay for the first few purchases made from the
     victim companies . After having established a record of paying
     for the purchases, defendants would seek an increased line of
     credit.
21                   Defendant RAHMANI would transfer, or would cause
     others to transfer , money from the Good Investments bank
     account into the Impaq M icro bank account .    This money would be
     used to operate Impaq M icro, to pay some victim companies for
     the initial purchases of merchandise , and to make it appear
     that       Impaq Micro bank account had significant funds making
         business worthy      large credit lines.


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Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 9 of 32 Page ID #:4500




                    Defendants TABATABA I, MASJEDI, BENSHIAN ,
  RAHMANI, and SABET would cause             victim companies     mail
  merchandise ordered on Impaq Micro's credit through private
  carriers, including Federal Express .         Defendants would also

         the victim companies        ship merchandise using interstate
  trucking companies.         m any instances,       merchandise ordered
  on Impaq Micro 's credit would be delivered to a warehouse in
  about Los Angeles, California .
                    Beginning     or about July 2004, defendants
  TABATABAT, MASJEDI, BENSHIAN, RAHMANI, and SA BET would place,
  or cause others       place, orders for large am ounts          expensive
  merchandise, including computers, computer-related equipment,
  and plasm a televisions, on credit . At the time they placed
  these orders, defendants did not intend to pay for the
  merchandise.     Once they received these merchandise orders,
  defendants would        pay       them .
              o.   On some occasionsr defendants TABATABA I,
  MASJEDI, BENSHIAN, RAHMANI, and SABET would m ail             deliver,
  cause others to mail        deliver,        the victim companies a
  post-dated check for the outstanding balances due .           These post-
  dated checks would nbounce'' due to insufficient funds being
  held     the Impaq Micro account .
                    Defendqnts TABATABA I, MASJEDI, BENSHIAN ,
  RAHMAN I, and SABET would initially store the merchandise they
  obtained from the victim companies on Impaq M icro's credit at
  warehouses, including one in Los Angeles, California, and later
  would sell the merchandise .      When selling the Impaq M icro
 Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 10 of 32 Page ID #:4501




 1 merchandise, defendants would insist on payment in cash or in
2 cashier's checks .     Money from the sale of the Impaq Micro
3 merchandise would then be deposited into bank accounts that
4 were controlled by defendants.
5              q.   A fter purchasing a large volume of merchandise
6 on credit, defendants TABATABA I, MASJEDI, BENSHIAN, RAHMANI,
7 and SABET would abandon Impaq Micro, and would fail to pay the
8 victim companies for the m erchandise they obtained valued at
9 approximately $3 million.
10                                OVERT ACTS
11       4.   On or about the dates listed below, in furtherance of
12 the conspiracy and to carry out the objects of the conspiracy,
13 defendants TABATABAI, MASJEDI, BENSHIAN , RAHMANI, SABET , and
14 others known and unknown to the Grand Jury , committed the
15 following overt acts, among others, within the Central District
16 of California and elsewhere :
17             a.   On November 17r 2003, defendant TABATABAI and an
18 unindicted co-conspirator caused a document entitled
19 nconfidentiality and Non-Disclosure Agreement'' to be sent to
20 the broker for Impaq Micro .
21            b.    On December 3, 2003, defendants MASJEDI and
22 BENSHIAN participated in a conference call with the broker for
23 Impaq Micro .
24             c.   On December 23, 2003, defendant TABATA BAI and an
25 unindicted co-conspirator caused a document to be sent to the
26 Impaq Micro broker, offering $235,000 to purchase Impaq Micro.
27             d.   In December 2003, defendant BENSHIAN traveled
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 Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 11 of 32 Page ID #:4502
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 1 from Los Angeles International Airport to Atlanta, Georgiar to
2 conduct due diligence for the purchase of Impaq Micro .
 3             e.   In December 2003, defendant MASJEDI traveled
 4 from Los Angeles International Airport to Atlanta, Georgia, in
 5 order to conduct due diligence for the purchase of Impaq Micro .
 6             f.   On January 13, 2004, defendant TABATABA I and an
 7 unindicted co-conspirator caused a document to be sent to the
 8 Impaq Micro broker stating that ''Robert Bajio'' would be
 9 involved in the negotiations to purchase Impaq M icro .
10             g.   On February 1O, 2004, defendant TABATABAI and an
11 unindicted co-conspirator received the final agreed deal
12 structure for the purchase of Impaq Micro .
13            h.    On March 1, 2004, defendant TABATABAI and an
14 unindicted co-conspirator sent the Impaq Micro broker a

15 document indicating that Robert Bajio was the representative
16 for the purchaser .
17             i.   On March 4, 2004, defendant TABATABAI and an
18 unindicted co-conspirator received a document regarding the
19 Asset Purchase Agreem ent for Impaq Micro .
20             j.   On March 9, 2004, defendant TABATABAI and an
21 unindicted co-conspirator sent the Impaq Micro broker documents
22 entitled uAsset Purchase Agreement'' and nAttachment to
23 Contract ,'' which stated that they wanted to take over the pre-
24 existing Impaq Micro bank account, and that vendors were not to
25 be told about the change in Impaq Micro ownership .
26             k.   On March 22, 2004, defendant TABATABAI
27 instructed an unindicted co-conspirator to open a bank account
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Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 12 of 32 Page ID #:4503




     using the business name Majik Company.
                1.     On March 31, 2004, an unindicted co-conspirator
          an offer on Tmpaq Micro and provided the broker with a
     deposit to secure the offer.
                       On May    2004, defendant TABATABAI contacted
     the broker and stated that defendants would be traveling
     Atlanta, Georgia , to close the Impaq Micro deal.
                       On May     2004, defendant BENSHIAN traveled
     from Los Angeles International Airport to Atlanta , Georgia , to
     assist in the purchase       Impaq Micro .
11              o.     On May 11, 2004, defendant MA SJEDI traveled from
     Los Angeles International Airport to Atlanta, Georgia ,          order
     to assist in       purchase of Impaq Micro .
                       On May     2004, defendant RAHMANI went
     Center Bank with an unindicted co-conspirator in order
     obtain a cashier's check.
                       On May 18, 2004, defendant TABATABAI traveled
     from Los Angeles International Airport to Atlanta , Georgia
     order to purchase Impaq Micro .
                       On June     2004, defendant TABATABA I traveled
     from Los Angeles International Airport to Atlanta , Georgia
     order to change the signatory on the Impaq M icro bank account.
                s.     On June     2004, defendant RAHMANI traveled
     from Los Angeles International Airport to Atlanta , Georgia
     order to change the signatory on the Impaq Micro bank account .

                          June 2004, defendants TABATABAI, MASJEDI and
     BENSHIAN        with an unindicted co-conspirator      Beverly Hills


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Case 2:05-cr-00744-MMM Document 19 Filed
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                                          08/02/05 Page 13 of 32 Page ID #:4504




 1 and discussed whether they would be dividing profits of the
2 Impaq Micro fraud with the unindicted co-conspirator .
3              u.   On July 13, 2004, defendant BENSHIAN sent a
4 facsimile to LACNY , a warehouse in the Los Angeles area, to
 5 pick up merchandise from Max Group Inc ., located in the City of
6    Industry, California .
7              v.   On August 13, 2004, defendants BENSHIAN and
 8 MASJEDI provided authorization for merchandise from CDW
9 Computer Centers to be released to a trucking company .
10             w.   On August 18, 2004, defendants BENSHIAN and
11 MASJEDI provided authorization for merchandise from CDW
12 Computer Centers to be released to a trucking company .
13             x.   In or about September 2004, defendants
14 TABATABAI, MASJEDI, BENSHIAN , RAHMANI, and SABET abandoned
15 Impaq Micro and failed to return the telephone calls of the
16 victim companies .
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Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 14 of 32 Page ID #:4505



                          COUNTS TWO through EIGHT

                            (18 U.S.C. 55 2314, 2)
      (Interstate Transportation of Fraudulently Obtained Goods)
                The Grand Jury incorporates and realleges paragraphs
     through     as though fully set forth herein .
           6.   On     about the dates set forth below ,       Los Angeles
  County, within the Central District of California, and
   elsewhere, defendants TA BATABAI, MASJEDI, BENSHIAN , RAHMANI,
   SABET, and others known and unknown to the Grand Jury , having
  devised, intended to devise, and participated in the above-
  described scheme and artifice to defraud, and for obtaining
  money and property by means of false and fraudulent pretenses,
   representations and the concealment of material facts, for the
  purpose of executing and concealing             above-described scheme

   to defraud , transported and caused          be transported in
   interstate commerce the following property having a value of
   $5,000 or more:


    COUNT       DATE        ITEM TRAN SPORTED
    TWO         7/27/04     3 NEC Plasma 61'' televisions, valued at
                            $29,697, sent from Active Lightr in
                            Seattle, Washington, to Impaq Micro
                            Los Angeles, California .
    THREE       7/30/04     15 Sony Plasma 42'' televisions, valued
                            at $52,980, sent from Electrograph in
                            Hauppauge , New York, to Impaq Micro in
                            Los Angeles, California .
    FOUR        7/30/04     3 NEC Plasma televisionsr valued at
                            $30,195, sent from Electrograph in
                            Hauppauge , New York, to Impaq Micro
                            Los An eles California .




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Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 15 of 32 Page ID #:4506



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    FTVE      7/30/04      4 Plasma televisions, valued at $19,560,
                           sent from Electrograph in Hauppauge , New
                           York, to Impaq M icro in Los Angeles,
                           California .
    SIX       8/13/04      27 Panasonic plasma televisions, valued
                           at approximately $95,823, sent from
                           Active Light ( in Poulsbor Washingtonr to
5                          Impaq Micro in Los Angeles, California.
6   SEVEN     8/18/04      15 Toshiba Notebook computers, valued at
                           $25(125, sent from CDW, in Vernon Hills,
                           Illtnoist to Impaq Micro in Los Angeles,
                           Californma .
    EIGHT     8/19/04      150 Toshiba Notebook computers, valued
                           at $236,250, sent from Option Source,
                           Inc . in Longwood, Floridar to Impaq
                           Micro in Los An eles California .




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Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 16 of 32 Page ID #:4507




                       COUNTS NINE through FOURTEEN
                           E18 U.S.C. 55 1341, 2q
                                 (Mail Fraud)
               The Grand Jury incorporates and realleges paragraphs
5 1 through 4 as though fully set forth herein .
          8.   On or about the dates set forth below, in Los Angeles
  County , within the Central District of California , and
  elsewhere, defendants TABATABAI, MASJEDI, BENSHIAN , RAHMANI,
  SABET, and others known and unknown to the Grand Jury , having
  devised, intended to devise, and participated in the above-
  described scheme and artifice to defraud, and for obtaining

  money and property by means of false and fraudulent pretenses,
  representations and the concealment of material facts, for the
  purpose of executing the above-described scheme to defraud,

  placed and caused to be placed in an authorized depository for
  mail matter, to be sent and delivered by the United States
  Postal Service or by a private and commercial interstate
  carrier, the following materials :

   COUNT       DATE        ITEM MAILED
   NINE        12/31/03    Letter confirming the offer to purchase
                           Impaq Micro from Walden Businessest Inc .
                           in Atlantar Georgia, to Mike Majidi in
                           Encino, California .
   TEN         1/15/04     Letter describing the terms of the sale
                           of Impaq Micro from Walden Businessesr
                            Inc. in Atlanta, Georgia, to Mike Majidi
                           in Encino, California .
   ELEVEN      2/10/04     Letter describing the final terms of the
                           sale of Impaq Micro , from Walden
                           Businessesr Inc . in Atlanta , Georgia , to
                           M ike Ma 'idi in Encino California .



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Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 17 of 32 Page ID #:4508



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     TWELVE     7/14/04     Computer equipment valued at
                            approximately $20,570, sent from Ingram
                            Micro in Mira Loma , California, to Impaq
3                           Micro in Norcross, Georgia.
     THIRTEEN   8/13/04     6 Toshiba Notebook computers, valued at
                            $10(050, sent from CDW, in Vernon Hills,
                            Illznoisr to Impaq Micro in Los Angeles,
                            California .
     FOURTEEN   8/13/04     9 Toshiba Notebook computers, valued at
                            $15r075, sent from CDW, in Vernon Hills,
                            Illinoisr to Impaq Micro in Los Angeles,
                            California .




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'   Case 2:05-cr-00744-MMM Document 19 Filed
          .                             a    08/02/05 Page 18 of 32 Page ID #:4509
                                                                              .   '
     :        '                                       ,




     1                      COUNTS FIFTEEN through TWENTY-TWO
    2                               g18 U .S.c . 55 1343, 2j
    3                                    (Wire Fraud)
    4             9.   The Grand Jury incorporates and realleges paragraphs
    5 1 through 4 as though fully set forth herein .
    6             10 . On or about the dates set forth below, in the Central
    7 District of California, and elsewhere, defendants TABATABAI ,
    8 MASJEDI , BENSHIAN , RAHMAN Ir SABET, and others known and unknown
    9 to the Grand Jury, having devised, intended to devise , and
    10 participated in the above-described scheme and artifice to
    11 defraud, and for obtaining money and property by means of false
    12 and fraudulent pretenses, representations and the concealment
    13 of material facts, for the purpose of executing the above-
    14 described scheme to defraud, willfully caused the transm ission
    15 of t'he following by means of interstate wire communication :
    16
    17   COW T           DATE        ITEM W IM D
    18   FIFTEEN         11/17/03 A facsimile entitled ''Confidentiality
                                     and Non-Disclosure Agreement ,, sent ysom
    19                               Mike Majidi and Robert Bajio in
                                     California to Walden Businesses, Inc . in
20                                   Atlanta , Georgia .
21       SIXTEEN         12/23/03    A facsimile offering $235,000 to
                                     p urchase Impaq Micro sent from Mike
22                                   Majidi and Robert Balio in California to
                                     walden Businesses, Inc . in Atlanta,
23                                   Georgia .
         SEVENTEEN       1/13/04     A facsimile stating Robert Bajio would
24                                   be negotiating the purchase Impaq Micro
                                     sent from Mike Majidi and Robert Bajio
25                                   in California to Walden Businesses, Inc .
                                     in Atlanta Geor ia .
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Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 19 of 32 Page ID #:4510



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     EIGHTEEN    3/9/04     A facsimile containing an asset purchase
                            agreement, with an attachment to the
                            contractr sent from Mike Majidi in
3                           Californiar to Walden Businesses, Inc .
                            in Atlanta, Georgia .
     NINETEEN    3/10/04    A facsimile responding to proposed
                            contract terms, sent from Walden
                            Businessesr Inc . in Atlanta, Georgia to
                            Mike Majidi and Robert Bajio in
                            California .
     TWENTY      5/11/04    A facsimile regarding due diligence sent
                             from Walden Businessesr Inc . in Atlanta,
                            Georgia, to Mike Majidi and Robert Bajio
                            in California .
     TWENTY-     8/19/04    A facsimile requesting payment for
     ONE                    m erchandise deliveredr sent from Amptron
                            International r Inc w In City of
11                          Industry, California, to Impaq Micro in
                            Norcross, Georgia .
     TWENTY-     8/20/04    A facsimile requesting payment for
13   TWO                    merchandise deliveredr sent from Amptron
                            International( Inc w In City of
                            Industry, California, to Impaq Micro in
                            Norcross Geor ia .
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 Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 20 of 32 Page ID #:4511
 j                   RJ




 1                             COUNT TWENTY-THREE
2                         E18 U .S.C. 55 1956(a) and (h))
3                         (Conspiracy to Launder Money)
4                                  INTRODUCTION
 5        11. The Grand Jury incorporates and realleges paragraphs
 6 1 through 4 as though fully set forth herein .
 7                        THE OBJECTS OF THE CONSPIRACY
 8       12 . Beginning on a date unknown to the Grand Jury and
 9 continuing to in or about September 2004, in Los Angeles
10 County, within the Central District of California, and
11 elsewhere, defendants TABATABA I, MASJEDI, BENSHIAN , RAHMANI,
12   SABET, and others known and unknown to the Grand Juryr
13 knowingly and unlawfully combined, consp ired, and agreed to
14   commit the following offenses against the United States :
15          a.   Knowing that the funds involved represented the
16 proceeds of unlawful activity, and with the intent to promote
17 the carrying on of specified unlawful activity , namely , mail
18 fraud in violation of 18 U .S .C . 5 1341, wire fraud in violation
19 of 18 U .S.C . 5 1343, and interstate transportation of stolen
20 property in violation of 18 U .S.C . 5 2314, to conduct, attempt
21 to conduct, and cause others to conduct financial transactions
22   involving the proceeds of specified unlawful activity and
23 affecting interstate or foreign comm erce, all in violation of
24 18 U.S.C. 5 1956(a) (1)(A) (i).
25          b.    Knowing that the funds involved represented the
26 proceeds of unlawful activity, and with the intent to conceal
27 and disguise the nature, the location , the source , the
28                                                                  .
                                        20
 Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 21 of 32 Page ID #:4512



 1 ownership, and the control of the proceeds of the specified
2 unlawful activity, namely, mail fraud in violation of 18 U .S .C .
3 5 1341, wire fraud in violation of 18 U .S .C . 5 1343, and
4 interstate transportation of stolen property in violation of 18
 5 U .S.C . 5 2314, to conduct, attempt to conduct, and cause others
 6 to conduct financial transactions involving the proceeds of
 7 specified unlawful activity and affecting interstate or foreign
 8 commerce, all in violation of 18 U.S.C. 5 1956(a) (1)(B) (i).
 9                THE MANNER AND MEANS OF THE CONSPIRACY
10       13.    In the course of the conspiracy, defendants
11 TABATABAI, MA SJEDI, BENSHIAN , RAHMANI, SABET, and others known
12 and unknown to the Grand Jury, would use funds obtained through
13 mail fraud , wire fraud , and interstate transportation of stolen
14 property to promote the scheme, including paying for initial
15 purchases of merchandise in order to create a good line of
16 credit with the victim companies and/or to entice the victim
17 companies to increase the line of credit provided to Impaq
18 M icro , paying for the storage and shipment of the goods
19 obtained from the victim companies, and transferring money
20 obtained from the fraud into the operating account for Impaq
21 Micro, to further their fraudulent scheme .
22       14 .   In addition, defendants TABATABAI, MASJEDI, BENSHIAN ,
23 RAHMANI, SABET, and others known and unknown to the Grand Jury,
24 would use multiple bank accounts and transfer money through the
25 various bank accounts with the intent to conceal and disguise
26 the nature , the location, the source r the ownership r and the
27 control of the proceeds of specified unlawful activity .
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                                       21
 Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 22 of 32 Page ID #:4513



 1                                OVERT ACTS
2        15 . On or about the dates listed below , in furtherance of
3 the conspiracy, defendants TABATABAI, MASJEDI, BENSHIAN ,
4 RAHMANI, SABET, and others known and unknown to the Grand Jury,
 5 committed the following overt acts, among others, within the
 6 Central District of California and elsewhere:
 7          The Purchase of Imrag Micro
 8          a.    On May 14, 2004, defendants MASJEDI and BENSHIAN
9 signed Highland International check number 1280, in the amount
10 of $240,000.
11          b.    On May 14r 2004, defendants MASJEDI and BENSHIAN
12 exchanged Highland International check number 1280, in the
13 amount of $240,000, for a cashier's check in the amount of
14 $240,000.
15          C.    On May 14, 2004, defendants MASJEDI and BENSHIAN
16 provided a cashier's check in the amount of $240,000 to
17 defendant RAHMANI for the purchase of Impaq Micro .
18          d.    On May l7, 2004, defendant RAHMANI deposited a
19 cashier's check in the amount of $240,000 into his personal
20 checking account .
21          e.    On May 17r 2004, defendant RAHMANI issued check
22 number 22014 in the amount of $240,000 from his personal
23 checking account, payable to M . Majidi, dba Majik Company.
24          f.    On May 17, 2004, an unindicted co-conspirator
25 deposited the $240,000 check obtained from defendant RAHMANI
26 into the bank account for Majik Company.
27          g.    On May 17, 2004, an unindicted co-conspirator, at
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                                       22
 Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 23 of 32 Page ID #:4514



 1 the direction of defendants TABATABAI and RAHMANI, wired
2 $240,000 from the Majik Company bank account to an escrow
3 account in the State of Georgia in order to purchase Impaq
4 Micro .
5           Pavments to Vendors and Victims
6           h.   On June 18, 2004, defendants TABATABA I, MASJEDI,
 7 BENSHIAN, RAHMANI, and SABET paid $1,000 to LACNY, a warehouse
 8 in the Los Angeles area, for storing merchandise obtained from
9 the victim companies .
10          i.   On July 7, 2004, defendants TABATABA I, MASJEDI,
11 BENSHIAN, RAHMANI, and SABET paid $1,653.15 to BE Logistics for
12 the transportation of merchandise from one or more victim
13 companies .
14          j.   On July 14, 2004, defendants TABATABAI, MASJEDI,
15 BENSHIAN, RAHMANI, and SABET paid $1,000 to LACNY, a warehouse
16 in the Los Angeles area, for storing merchandise obtained from
17 the victim companies.
18          k.   On July 28, 2004, defendants TABATABA I, MASJEDI,
19 BENSHIAN, RAHMANI, and SABET paid $2,149.98 to BE Logistics for
20 the transportation of merchandise from one or m ore victim
21 companies .
22          1.   On August 2, 2004, defendants TABATABAI, MASJEDI,
23 BENSHIAN, RAHMANI, and SABET paid $2,626 to BE Logistics for
24 the transportation of m erchandise from one or m ore victim
25 companies .
26          m.   On August 12, 2004, defendants TABATABAI, MASJEDI,
27 BENSHIAN, RAHMANI, and SABET paid $5,000 to BE Logistics for
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'    Case 2:05-cr-00744-MMM Document 19 Filed
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                                              08/02/05 Page 24 of 32 Page ID #:4515
                                                z          .                  #




     1 the transportation of merchandise from one or more victim
    2    companies.
    3           n.    On August 16, 2004, defendants TABATABAI, MASJEDI,
    4 BENSHIAN, RAHMANI, and SABET paid $35,000, in the form of a
    5 cashier's check, to Amptron Industry, in the City of Industry,
    6 California, for computer merchandise .
    7           o.    On August 17, 2004, defendants TABATABAI, MASJEDI,
    8 BENSHIAN, RAHMANI, and SABET paid $1,000 to LACNY, a warehouse
    9 in the Los Angeles area, for storing merchandise obtained from
    10 one or more victim companies .
    11          p.    On August 26, 2004, defendants TABATABAI, MASJEDI,
    12 BENSHIAN, RAHMANI, and SABET paid $1,400 to LACNY, a warehouse
    13 in the Los Angeles area, for storing merchandise obtained from
    14 one or more victim companies .
    15          Transfers for Impa? Micro's Business Ooerations
    16          q . On June 22, 2004, defendants TABATABAI, MASJEDI,
    17 BENSHIAN, RAHMANI, and SABET wire transferred $22,000 from the
    18 account of Good Investments at center Bank, in Los Angeles,
    19 california , payable to Impaq Micror in Atlanta , Georgia .
20              r.    On June 24, 2004, defendants TABATABA I, MASJEDI,
21 BENSHIAN, RAHMAN I, and SABET Wire transferred $27,000 from the
22 account of Good Investments at Center Bank, in Los Angeles,
23 California , payable to Impaq Micro, in Atlanta , Georgia .
24              s.    On July 1, 2004, defendants TABATABA I, MASJEDI,
25 BENSHIAN, RAHMANI, and SABET wire transferred $28,000 from the
26 account of Good Investments at Center Bank, in Los Angeles,
27 California , payable to Impaq Micro, in Atlanta , Georgia .
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'




     Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 25 of 32 Page ID #:4516
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     1          t.    On July 19, 2004, defendants TABATABA I, MA SJEDI,
    2 BENSHIAN, RAHMANI, and SABET wire transferred $71,000 from the
    3 account of Good Investm ents at Center Bank, in Los Angeles,
    4 california, payable to Impaq Micro, in Atlanta, Georgia .
    5           u.    On July 22, 2004, defendants TABATABA I, MASJEDI,
    6 BENSHIAN, RAHMANI, and SABET wire transferred $108,000 from the
    7 account of Good Investm ents at Center Bank, in Los Angeles,
    8 California, payable to Impaq Micro, in Atlanta, Georgia .
    9           Transfer Of Proceeds Into Good Investments
    10          v.    On August 24, 2004, defendant RAHMANI deposited a
    11 check in the amount of $60,000 from the account of Impaq Micro
    12 into the account for Good Investments .
    13          w . On August 24, 2004, defendant RAHMANI deposited a
    14 check in the amount of $30,000 from the account of Impaq Micro
    15 into the account for Good Investments .
    16          x.    On September 2, 2004, defendant RAHMANI deposited a
    17 check in the amount of $6,245.95 from the account of Impaq
    18 Micro into the account for DND Company .
    19          The Sale of Merchandise from the Victim Comranies
    20          y.    On July 17, 2004, defendants TABATABAI, MASJEDI,
    21 BENSHIAN , RAHMANI, and SABET deposited a cashier's check,
    22 obtained from Kinetic Technology in the amount of $71,520, into
    23 the account of Good Investments at Center Bank, in Los Angeles,
    24 California .
    25          z.    On July 21, 2004, defendants TABATABAI, MASJEDI,
    26 BENSHIAN , RAHMANI, and SABET deposited a cashier's check,
    27 obtained from Kinetic Technology in the amount of $60,580, into
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 Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 26 of 32 Page ID #:4517



 1 the account of Good Investments at Center Bank, in Los Angeles,
2 California .
3           aa .   On July 21, 2004, defendants TABATABAI, MASJEDI,
4 BENSHIAN , RAHMANI, and SABET deposited a cashier's check,
5 obtained from Online Micro in the amount of $17,320, into the
6 account of Good Investm ents at Center Bank, in Los Angeles,
7 california .
8           bb .   On July 28, 2004, defendants TABATABA I, MA SJEDI,
9 BENSHIAN , RAHMANI, and SABET deposited a cashier's check,
10 obtained from Kinetic Technology in the amount of $54,000, into
11 the account of Good Investments at Center Bank, in Los Angeles,
12 California .
13          cc . On July 30, 2004, defendants TABATABA I, MA SJEDI,
14 BENSHIAN , RAHMAN I, and SABET deposited a cashier's check,
15 obtained from Online Micro in the amount of $54,900, into the
16 account of Good Investments at Center Bank, in Los Angeles,
17 California .
18          dd . On August 5, 2004, defendants TABATABA I, MASJEDI,
19 BENSHIAN, RAHMAN I, and SABET deposited a cashier's checkr
20 obtained from Online Micro in the amount of $53,750, into the
21 account of Good Investments at Center Bank, in Los Angeles,
22 California .
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 Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 27 of 32 Page ID #:4518



                   COUNTS TWENTY-FOUR through THIRTY-NINE
                      E18 U.S.C. 55 1956(a) (1)(B) (i), 2)
                              (Money Laundering)
              The Grand Jury incorporates and realleges paragraphs
   1 through 4 as though fully set forth herein .
              On      about the dates listed below ,        Los Angeles
   County, within the Central District of California and
   elsewhere, defendants TABATABA I, MASJEDI, BENSHIAN, RAHMAN I,
   SABET, and others known and unknown          the Grand Jury, knowing
   that the financial transactions described below represented the
11 proceeds of some form of unlawful activity, conducted, caused
   to be conducted, and aided, abetted, counseled, commanded,
   induced, and procured others to conduct the following financial
   transactions affecting interstate commerce, which transactions

       fact involved the proceeds of specified unlawful activity,
   and knowing that the transactions were designed            whole and in
   part     conceal and disguise the nature, location , source ,
   ownership , and control of the proceeds of the specified
   unlawful activity, namely mail and wire fraud, and interstate
   transportation        stolen property , in violation of 18 U .S .C .
21 :5 1341, 1343, and 2314:

    COUNT      DATE         FINANCIAL TRANSACTION
    TWENTY-    5/14/04      Purchase of a cashier's check in the
    FOUR                    amount of $240,000 with a Highland
                            International check in the am ount of
                            $240,000.
    TWENTY-    5/17/04      Deposit of $240,000 cashier's check into
    FIVE                    a personal bank account in the name of
                            defendant RAHMANI.
Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 28 of 32 Page ID #:4519




    TWENTY-   5/17/04      Deposit of $240,000 check from the
    SIX                    account of defendant RAHMANI into the
                           bank account of Majik Company.
3   TWENTY-   5/17/04      Wire transfer of $240,000 from the Majik
    SEVEN                  Company bank account at Center Bank in
4                          Los Angeles, Californiar to Miller's
5                          Brand Banking Company, zn Lawrenceville,
                           Georgia .
6   TWENTY-   6/24/04      Deposit of a cashier's check, purchased
    EIGHT                  by Kinetic Technology in the am ount of
7                          $23,550, into the account of Good
                           Investments at Center Bank, in Los
8                          Angeles, California.
9   TWENTY-   6/30/04      Deposit of a cashier's check, purchased
    NINE                   by Kinetic Technology in the am ount of
                           $32,650, into the account of Good
                           Investments at Center Bank, in Los
                           Angeles, California .
    THIRTY    7/7/04       Deposit of a cashier's check, purchased
                           by Kinetic Technology in the am ount of
                           $33,715, into the account of Good
                           Investments at Center Bank, in Los
                           Angeles, California .
    THIRTY-   7/17/04      Deposit of a cashier's checkr purchased
    ONE                    by Kinetic Technology in the am ount of
                           $71,520, into the account of Good
                           Investments at Center Bank, in Los
                           Angeles, California .
    THIRTY-   7/21/04      Deposit of a cashier's check, purchased
    TWO                    by Kinetic Technology in the amount of
                           $60,580, into the account of Good
                           Investments at Center Bank, in Los
                           Angeles, California.
    THIRTY-   7/21/04      Deposit of a cashier's checkr purchased
    THREE                  by Online Micro in the amount of
                           $47,320, into the account of Good
                           Investments at Center Bank, in Los
                           Angeles, California .
    THIRTY-   7/28/04      Deposit of a cashier's check, purchased
    FOUR                   by Kinetic Technology in the amount of
                           $54,000, into the account of Good
                           Investments at Center Bank, in Los
                           An eles California .




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     Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 29 of 32 Page ID #:4520




       THIRTY-    7/30/04      Deposit of a cashier's check, purchased
       FIVE                    by Online Micro in the am ount of
                               $54,900, into the account of Good
                              Investments at Center Bank, in Los
                              Angeles, California .
       THIRTY-    8/4/04       Deposit of a cashier's check, purchased
       SIX                     by Online Micro in the amount of
                               $57,590, into the account of Good
                              Investments at Center Bank, in Los
                              Angeles, California .
       THIRTY-    8/5/04       Deposit of a cashier's check, purchased
       SEVEN                   by Online Micro in the amount of
                               $53,750, into the account of Good
                              Investments at Center Bank, in Los
                              Angeles, California .
       THIRTY-    8/10/04      Deposit of a cashier's check, purchased
       EIGHT                  by Kinetic Technology in the amount of
11                             $38,860, into the account of Good
                              Investments at Center Bank, in Los
                              Angeles, California .
       THIRTY-    8/12/04      Deposit of a cashier's check, purchased
       NINE                   by Online Micro in the amount of
                               $39,000, into the account of Good
                              Investments at Center Ban k, in Los
                              An eles California .




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     Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 30 of 32 Page ID #:4521



 1                         COUNTS FORTY through FIFTY-THREE
2                          (18 U .S.C . :5 1956(a)(1) (A) (i), 2)
3                                  (Money Laundering)
4            18 .   The Grand Jury incorporates and realleges paragraphs
 5 1 through 4 as though fully set forth herein .
 6           19. On or about the date set forth below , in Los Angeles
 7 County, within the Central District of California and
 8 elsewhere, defendants TABATABAI, MASJEDI, BENSHIAN , RAHMANI,
9 SABET , and others known and unknown to the Grand Jury r knowing
10 that the financial transaction described below represented the
11 proceeds of some form of unlawful activity, conducted , caused
12       be conducted, and aided, abetted , counseled , commanded,
13 induced, and procured others to conduct the following financial
14 transactions affecting interstate commerce, which transactions
15 in fact involved the proceeds of specified unlawful activity,
16 with the intent to promote the carrying on of specified
17 unlawful activity, namely mail and wire fraud , and interstate
18 transportation of stolen property, in violation of 18 D .S .C .
19 55 1341, 1343, and 2314 :
20
       couNT        DATE         FINANCIAL TRANSACTION
21     FORTY        6/18/04      P
                                  ayment of $1,000 from the account of
22                               Impaq Micro to LACNY in Los Angeles,
                                 California .
23     FoRTy-       6/22/04      Payment of $22, 000 from the account of
24     ONE                       Good Investments to Impaq Micro, in
                                 A tlanta Geor ia .
25     FORTY-       6/24/04      Payment of $27,000 from the account of
       TWO                       Good Investments to Tmpaq Micro, in
26                               A tlanta Geor ia .
27     FORTY-       7/1/04       Payment of $28,000 from the account of
       THREE                     Good Investments to Impaq Micro, in
28                               Atlanta Geor ia .

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Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 31 of 32 Page ID #:4522




  FORTY-    7/07/04      Payment of $1,653.15 from the account of
  FOUR                   Impaq Micro to BE Logistics in Hawthorne,
                         California.
  FORTY-    7/14/04      Payment of $1,000 from the account of
  FIVE                   Impaq Micro to LACNY Freight Forwarders
                         Inc . in Los An eles California .
  FORTY-    7/19/04      Payment of $71,000 from the account of
  SIX                    Good Investments to Impaq Micro, in
                         A tlanta Geor ia .
  FORTY-    7/22/04      Payment of $108,000 from the account of
  SEVEN                  Good Investments to Impaq Micro, in
                         Atlanta, Georgia .
  FORTY-    7/28/04      Payment of $2,149.98 from the account of
  EIGHT                  Impaq Micro to BE Logistics in Hawthorne,
                         California .
  FORTY-    8/02/04      Payment of $2,626 from the account of
  NINE                   Impaq Micro to BE Logistics in Hawthorne ,
                         California .
  FIFTY     8/12/04      Payment of $5,000 from the account of
                         Impaq Micro to BE Logistics in Hawthorne,
                         California .
  FIFTY-    8/16/04      Payment of $35,000, in the form of a
  ONE                    cashier's check, to Amptron Industry of
                         Industr   California
  FIFTY-    8/17/04      Payment of $1,000 from the account of
  TWO                    Impaq Micro to LACNY in Los Angeles,
                         California .




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     Case 2:05-cr-00744-MMM Document 19 Filed 08/02/05 Page 32 of 32 Page ID #:4523



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       FIFTY-     8/26/04     Payment of $1,400 from the account of
2      THREE                  Good Investments to LACNY in Los Angeles,
                              California .
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5                                             A TRUE BILL

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7
                                              Forep rson
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9
j0 DEBRA WONG YANG
     United Sta    s Attorney

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                       '
                       ,x:F%X
     THOMAS P. O'BRIEN
     Assistant United States Attorney
     Chief, Criminal Division

15
16 EILEEN M . DECKER
   Assistant United States Attorney
   Deputy Chief, Organized Crime & Terrorism Section
